      Case 4:16-cr-00219 Document 57 Filed on 02/22/17 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES DISTRICT COURT                            February 22, 2017
                       FOR THE SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
                      Government,               §
                                                §
VS.                                             §     CRIMINAL NO. H-16-219-1
                                                §
DOMINIQUE DEMON EDWARDS,                        §
                                                §
                      Defendant.                §


                                   ORDER OF REFERRAL

       Having considered the defendant’s consent, this cause is hereby referred to United States

Magistrate Judge Nancy Johnson for the purpose of administering the plea of guilty, subject to the

final approval and imposition of sentence by this Court.

               SIGNED on February 22, 2017, at Houston, Texas.


                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                       Chief United States District Judge
